      Case 7:17-cv-00215 Document 1 Filed in TXSD on 06/02/17 Page 1 of 7



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION

CESAR CHIMELY AND                               §
MONICA CHIMELY                                  §
    Plaintiffs,                                 §
                                                §
                                                                        7:17-cv-215
v.                                              §            CASE NO. _______________
                                                §
                                                §
STATE FARM LLOYDS AND                           §
JOHN SCHERLEN,                                  §
     Defendants.


            DEFENDANT STATE FARM LLOYDS’ NOTICE OF REMOVAL

       Defendant State Farm Lloyds (“State Farm”) files this Notice of Removal.

                              PROCEDURAL BACKGROUND

1.     Plaintiffs Cesar Chimely and Monica Chimely filed this action on May 4, 2017 against

State Farm and John Scherlen in the County Court at Law No. 2 of Hidalgo County, Texas. That

case was docketed under cause number CL-17-2008-B (the “State Court Action”).

2.     State Farm was served with process on May 9, 2017. John Scherlen was served with

process on May 15, 2017.

3.     State Farm and John Scherlen timely filed their Original Answer on May 26, 2017.

4.     State Farm timely files this Notice of Removal pursuant to 28 U.S.C. §1446 to remove

the State Court Action from the County Court at Law No. 2 of Hidalgo County, Texas to the

United States District Court for the Southern District of Texas, McAllen Division.

                                     NATURE OF THE SUIT

5.     This lawsuit involves a dispute over the alleged non-payment of insurance benefits and

the handling of Plaintiffs’ claims for damages allegedly sustained as the result of a March 26,
      Case 7:17-cv-00215 Document 1 Filed in TXSD on 06/02/17 Page 2 of 7



2015 wind and/or hailstorm. See Plaintiffs’ Original Petition at ¶¶ 5.3-5.7. Plaintiffs assert

causes of action against Defendant State Farm for breach of contract, violation of Chapters 541

& 542 of the Texas Insurance Code, breach of duty of good faith and fair dealing, fraud, and

conspiracy to commit fraud. Id. at ¶¶ 6.1-10.2.

6.     While named as a Defendant, Plaintiffs do not assert any causes of action against

Defendant Scherlen. See id. at ¶¶ 6.1-10.2.

                                      BASIS FOR REMOVAL

7.     The Court has jurisdiction over this action under 28 U.S.C. § 1332 because there is and

was complete diversity between all real parties in interest (Plaintiffs and State Farm) and the

amount in controversy exceeds $75,000, exclusive of interest and costs. The citizenship of John

Scherlen should be disregarded because he has been improperly joined.

                                        Diversity of Citizenship

8.     At the time the State Court Action was commenced, Plaintiffs were and still are residents

and citizens of Texas. See Plaintiffs’ Original Petition at ¶ 2.1.

9.     Defendant State Farm Lloyds was at the time this action was commenced, and still is, a

citizen of Illinois. State Farm Lloyds is a “Lloyd's Plan” organized under chapter 941 of the

Texas Insurance Code. It consists of an unincorporated association of underwriters who were at

the time this action was commenced, and still are, all citizens and residents of Illinois, thereby

making State Farm Lloyds a citizen of Illinois for diversity purposes. See Royal Ins. Co. of Am.

v. Quinn-L Capital Corp., 3 F.3d 877, 882-83 (5th Cir. 1993) (citizenship of unincorporated

association determined by citizenship of members).




                                                  -2-
      Case 7:17-cv-00215 Document 1 Filed in TXSD on 06/02/17 Page 3 of 7



10.    Defendant Scherlen is a resident and citizen of Texas. However, Plaintiffs improperly

joined Scherlen in an attempt to defeat diversity. For this reason, the citizenship of Scherlen

should not be considered in determining whether this Court has jurisdiction under 28 U.S.C.

§ 1332. The citizenship of improperly joined defendants is not to be considered in determining

whether complete diversity exists. Salazar v. Allstate Texas Lloyds Inc., 455 F.3d 571, 574 (5th

Cir. 2006); Smallwood v. Illinois Cent. R.R. Co., 385 F.3d 568, 573 (5th Cir. 2003).

                            Mr. Scherlen Has Been Improperly Joined

11.    Defendant Scherlen has been improperly joined, as Plaintiffs have not brought any causes

of action against him. See Plaintiffs’ Original Petition.

12.    A threshold inquiry when determining whether a defendant is improperly joined is

“whether it appears from the state court petition that the plaintiff actually intended to sue the

non-diverse defendant.” Escuadra v. GeoVera Specialty Ins. Co., 739 F. Supp. 2d 967, 975

(E.D. Tex. 2010). Plaintiffs’ Original Petition includes no causes of action specific to Defendant

Scherlen, and Plaintiffs cannot recover damages without asserting a cause of action. While

Plaintiffs’ petition does refer to “the Adjustor” in the Facts section of the petition, such

references are only to further Plaintiffs’ claims against State Farm. See, e.g., Plaintiffs’ Original

Petition at ¶¶ 10.1-10.2.    Judge Alvarez addressed a similar petition in Gayton v. Great Lakes

Reinsurance UK PLC:

       In fact, as BCC points out, though the complaint references Great Lakes by name
       several times, the complaint references BCC by name precisely two times: when
       naming the parties, and when detailing where to serve process. In particular, the
       "Causes of Action" section only lists Great Lakes. Clearly, this complaint fails
       even Texas' lenient notice pleading standards, since neither BCC nor the Court
       can discern the causes of action asserted against, or relief sought from, BCC. This
       pleading — slovenly even by the standards of form complaints — mandates
       BCC's dismissal from the case.



                                                -3-
       Case 7:17-cv-00215 Document 1 Filed in TXSD on 06/02/17 Page 4 of 7



Gayton v. Great Lakes Reinsurance UK PLC, 2014 U.S. Dist. LEXIS 192900, *5 (S.D. Tex. July

3, 2014).

13.     Further, language in the petition suggests Plaintiffs made a conscious choice not to bring

any causes of action against Defendant Scherlen. Plaintiffs’ petition includes a cause of action

against State Farm for conspiracy to commit fraud, but states “Plaintiffs do not seek damages

from conspirators other than Defendant Insurance Company.” Plaintiffs’ Original Petition at

¶ 8.2. Based on the language of Plaintiffs’ petition, this is a lawsuit between Plaintiffs and State

Farm, and Defendant Scherlen was only named as a defendant in an attempt to defeat diversity

jurisdiction.

14.     The residency of Defendant John Scherlen should not be considered for purposes of

diversity jurisdiction and Plaintiffs’ claims against Defendant Scherlen should be dismissed.

                                       Amount in Controversy

15.     Plaintiffs’ Original Petition contains a conclusory statement, purportedly pursuant to Rule

47 of the Texas Rules of Civil Procedure, that “Plaintiffs’ monetary request for relief is less than

$75,000, including damages of any kind, penalties, court costs, expenses, prejudgment interest

and attorney fees.” Plaintiffs’ Original Petition at ¶ 1.2. However, “Texas law simply does not

permit a plaintiff to plead that he or she seeks damages not to exceed $75,000. Thus, a specific

demand such as Plaintiff’s cannot be deemed the amount in controversy because ‘[s]uch

manipulation is surely characterized as bad faith.’” Chavez v. State Farm Lloyds, 2016 U.S.

Dist. LEXIS 19920, *5-6, 2016 WL 641634 (S.D. Tex. Feb. 18, 2016) (citing Garcia v. Kellogg

USA, Inc., No. 7:13-CV-00347, 2013 U.S. Dist. LEXIS 125197, 2013 WL 4735169, at *1 (S.D.

Tex. Sept. 3, 2013)).




                                                -4-
      Case 7:17-cv-00215 Document 1 Filed in TXSD on 06/02/17 Page 5 of 7



16.    In their Original Petition, Plaintiffs seek damages including (but not limited to) actual

damages, mental anguish, statutory penalties, compensatory damages, damages for emotional

distress, treble damages under the Insurance Code, exemplary damages, interest, court costs, and

attorney’s fees. Plaintiffs’ Original Petition at ¶¶ 12.1-12.8. In addition, prior to filing suit,

Plaintiffs sent State Farm a pre-suit demand, alleging actual damages to Plaintiffs’ property in

the amount of $29,563.24. As shown by Plaintiffs’ pre-suit demand and the long list of other and

additional damages sought in the Petition, the amount in controversy requirement is satisfied.

                         REMOVAL IS PROCEDURALLY CORRECT

17.    This Notice of Removal is timely under 28 U.S.C. § 1446(b).        State Farm Lloyds was

served with process on May 9, 2017. John Scherlen was served with process on May 15, 2017.

18.    Venue is proper in this Division under 28 U.S.C. § 1441(a) because this district and

division embrace the place in which the removed action has been pending.

19.    In accordance with 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders in

the State Court Action are attached herein to the Index of Matters Filed (Exhibits 1A – 1E).

20.    Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of State Farm Lloyds’ Notice

of Removal was promptly given to all parties and to the clerk of the County Court at Law No. 2

of Hidalgo County, Texas.

21.    All documents required by Local Rule 81 to be filed with this Notice of Removal are

attached herein to the Index of Matters Filed (Exhibit 1).




                                                -5-
      Case 7:17-cv-00215 Document 1 Filed in TXSD on 06/02/17 Page 6 of 7



                                                PRAYER

       State Farm Lloyds respectfully requests that the State Court Action be removed and

placed on this Court's docket for further proceedings. State Farm Lloyds also requests any

additional relief to which it may be justly entitled.

                                                        Respectfully submitted,

                                                        /s/ Dan K. Worthington _____
                                                        Dan K. Worthington
                                                        TSBN 00785282 / SDOTBN 15353
                                                        ATLAS, HALL & RODRIGUEZ, LLP
                                                        818 W. Pecan Blvd. (78501)
                                                        P.O. Box 3275
                                                        McAllen, Texas 78502
                                                        (956) 682-5501 – Phone
                                                        (956) 686-6109 – Fax
                                                        dkw@atlashall.com - Email
                                                        ATTORNEY IN CHARGE FOR DEFENDANT
Of Counsel:
Sofia A. Ramon
TSBN 00784811/SDOT 20871
ATLAS, HALL & RODRIGUEZ, LLP
818 W. Pecan Blvd. (78501)
P.O. Box 3275
McAllen, Texas 78502
(956) 682-5501 – Phone
(956) 686-6109 – Fax




                                                  -6-
      Case 7:17-cv-00215 Document 1 Filed in TXSD on 06/02/17 Page 7 of 7



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 2nd day of June, 2017, a true and correct copy of the
foregoing document was sent to all counsel of record in this cause, to-wit:

      J. Michael Moore
      THE MOORE LAW FIRM
      4900 North 10th Street, Suite E-2
      McAllen, Texas 78504Da
      Telephone: (956) 631-0745
      Fax: (888) 266-0971


                                                      /s/ Dan K. Worthington
                                                      Dan K. Worthington




                                           -7-
